           Case 1:15-cv-02739-LAP Document 347 Filed 01/26/22 Page 1 of 2




                                                               January 25, 2022

 Via ECF

 The Honorable Loretta A. Preska,
     United States District Court for the Southern District of New York,
         500 Pearl Street,
             New York, NY 10007.

                 Re:     Petersen Energía Inversora S.A.U., et al. v. Argentine Republic and
                         YPF S.A., No. 15 Civ. 2739 (LAP) (“Petersen”); Eton Park Cap. Mgmt. et
                         al. v. Argentine Republic and YPF S.A., No. 16 Civ. 8569 (LAP) (“Eton
                         Park”)

 Dear Judge Preska:

                We write on behalf of Defendants the Argentine Republic and YPF S.A., and
 Plaintiffs Petersen Energía Inversora, S.A.U., Petersen Energía, S.A.U., Eton Park Capital
 Management, L.P., Eton Park Master Fund, Ltd., and Eton Park Fund, L.P. in connection with
 the Court’s January 21 order (Petersen ECF No. 345; Eton Park ECF No. 275) regarding the
 status conference scheduled for January 27, 2022.

                 The parties respectfully request that the conference be adjourned. They are
 negotiating a stipulation to be presented to the Court regarding deadlines for pretrial filings and a
 trial date, and propose to file the stipulation, or, if they cannot agree, letters setting forth their
 competing proposed schedules, by February 3, 2022.

 Respectfully,

/s/ Robert J. Giuffra, Jr.                         /s/ Mark C. Hansen
Robert J. Giuffra, Jr.                             Mark C. Hansen
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                                                   Petersen Energía, S.A.U., Eton Park Capital
                                                   Management, L.P., Eton Park Master Fund, Ltd.,
 SO ORDERED.                                       and Eton Park Fund


                    1/26/2022
         Case 1:15-cv-02739-LAP Document 347 Filed 01/26/22 Page 2 of 2




 The Honorable Loretta A. Preska                                      -2-




/s/ Mark P. Goodman
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